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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO

CASE NO.

UNITED STATES OF AMERICA,

       Plaintiff,
 v.

EUGENE RAYMOND ESTES,

      Defendant.
______________________________________________________________________

              UNITED STATES OF AMERICA’S COMPLAINT FOR
                        PERMANENT INJUNCTION
______________________________________________________________________

       Plaintiff, the United States of America (“United States”), through its undersigned

counsel, hereby sues Defendant Eugene Raymond Estes (“Defendant”) and alleges as

follows:

                                    INTRODUCTION

       1.      Starting as early as July 2013 and continuing to the present, Defendant

has assisted and facilitated predatory mail and wire fraud schemes that primarily

victimize citizens of the United States. Participants in the scheme engage in fraudulent

activities, including business email compromise and romance scams among others, and

thereby induce the victims to transmit money to Defendant. The Defendant then

withdraws cash, purchases cashier’s checks, initiates wire transfers or otherwise

transfers the funds to perpetrators of the scheme, typically keeping a portion for himself.

       2.      The United States seeks to prevent continuing and substantial injury to

victims of this fraudulent scheme by bringing this action for a permanent injunction and
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other equitable relief under 18 U.S.C. § 1345 to enjoin the ongoing commission of mail

fraud and wire fraud in violation of 18 U.S.C. §§ 1343 and 1344.

                                JURISDICTION AND VENUE

      3.       The Court has subject matter jurisdiction over this action under 18 U.S.C.

§ 1345 and 28 U.S.C. §§ 1331 and 1345.

      4.       Venue is proper in this district under 28 U.S.C. § 1391(b)(1).

                                           PARTIES

      5.       Plaintiff is the United States.

      6.       Defendant is a resident of Aurora, Colorado. Defendant engaged, and

continues to engage, in the conduct described in this Complaint from within the District

of Colorado.

                                 FRAUDULENT SCHEMES

      7.       Since at least July of 2013, victims have been harmed by the fraudulent

schemes facilitated by perpetrators of the schemes. Operators of the fraud schemes

engage in illegal activities, including business email compromise and romance scams,

causing victims’ funds to be transferred or sent to the Defendant or his bank accounts

and then to the perpetrators of the fraud. Defendant plays a critical role in the schemes

by receiving victims’ money as deposits into numerous bank accounts that he has

opened at various banks throughout Colorado. Defendant furthers the scheme by

making cash withdrawals, purchasing official bank checks, initiating wire transfers and

otherwise transferring funds to other participants of the scheme.

      8.       In the case of a business email compromise, a fraudster contacts the

victim company via email, posing as a legitimate vendor of the company, and requests

that the vendor’s bank account information be modified to direct funds to a fraudulent

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account, like that of the Defendant. Subsequently, the victim company sends payments

to the vendor, but instead of going to the vendor, the payments are diverted to the

fraudulent account.

       9.     The Defendant in this case claims to be involved in a romantic relationship

with a fiancé in Canada who has inherited millions of dollars. The Defendant claims that

the funds being deposited into his bank accounts are from his fiancé's interests and that

he withdraws cash, purchases cashier’s checks, initiates wire transfers and otherwise

transfers the funds in order to help his fiancé claim her inheritance in the United States.

       10.    Upon receipt of the stolen money, the Defendant immediately engages in

complex movement of funds to obfuscate the trail of the money.

       11.    In or about November 2017, the FBI was notified that a victim of business

email compromise fraud sent over $100,000 to Defendant as a result of the scam.

       12.    Upon information and belief, Defendant engaged in a series of

transactions, that resulted in him withdrawing $40,000 in cash and having approximately

$64,000 in bank accounts, accounts that were not the accounts to which the victim sent

the money.

       13.    Seizure warrants resulted in the recovery of approximately $64,000.00

and loss of approximately $40,000.00.

       14.    On or about November 3, 2017, Special Agents from the Federal Bureau

of Investigation met with Defendant regarding the above described activity. Defendant

was presented with a letter warning that Defendant and/or persons the Defendant

associates with, “may be engaged in fraudulent activity that violates state and/or federal




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criminal laws.” Further, “by agreeing to engage in such transactions, [Defendant] may

also be facilitating a fraudulent scheme and assisting the perpetrators of the scheme.”

        15.   Despite voluntarily signing the letter, Defendant continues to assist and

facilitate the fraud schemes.

        16.   For example, in December 2019, another victim of a business email

compromise scam deposited over $100,000 in Defendant’s account as a result of a

scam.

        17.   Upon information and belief, within 72 hours, Defendant conducted a

series of transactions, which depleted the full amount of the victim’s deposit.

        18.   Upon information and belief, Defendant has sent or received over a million

dollars in fraud proceeds, some of which were received as recently as September 2020.

                       DEFENDANT’S KNOWLEDGE OF FRAUD

        19.   Upon information and belief, the United States alleges that Defendant has

knowledge that his conduct facilitates a mail and wire fraud scheme.

                                     HARM TO VICTIMS

        20.   Victims suffer financial losses from the mail and wire fraud scheme

facilitated by Defendant.

        21.   Absent injunctive relief by this Court, Defendant’s conduct will continue to

cause injury to victims.

                                          COUNT I
                            (18 U.S.C. § 1345 – Injunctive Relief)

        22.   The United States re-alleges and incorporates by reference Paragraphs 1

through 23 of this Complaint as though fully set forth herein.




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       23.     By reason of the conduct described herein, Defendant violated, is

violating, and is about to violate 18 U.S.C. §§ 1341 and 1343 by facilitating a scheme

and artifice to defraud and obtain money or property by means of false or fraudulent

representations with the intent to defraud, and, in so doing, use the United States mails

and interstate wire communications.

       24.     Upon a showing that Defendant is committing or about to commit mail or

wire fraud, the United States is entitled, under 18 U.S.C. § 1345, to seek a permanent

injunction restraining all future fraudulent conduct and to any other action that this Court

deems just and proper to prevent a continuing and substantial injury to victims.

       25.     As a result of the foregoing, the Court should enjoin Defendant’s conduct

under 18 U.S.C. § 1345.

       26.     On November 30, 2020 the Defendant signed a Stipulated Consent

Decree, filed herewith. Without admission of liability or wrongdoing, Defendant

stipulated to the entry of the attached proposed Stipulated Consent Decree, freely, and

without coercion.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, United States of America, requests of the Court the

following relief:

       A.      That the Court issue a permanent injunction, pursuant to 18 U.S.C.

§ 1345, ordering that Defendant is restrained from withdrawing, transferring, removing,

dissipating or disposing of funds obtained through fraudulent pretenses, and

       B.      That the Court order such other and further relief as the Court shall deem

just and proper.



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      Dated: November 30, 2020.         Respectfully Submitted,

                                        JASON R. DUNN
                                        UNITED STATES ATTORNEY

                                        /s/ Martha A. Paluch
                                        MARTHA A. PALUCH
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                               CERTIFICATE OF SERVICE

       The United States certifies that on November 30, 2020, I electronically filed the

foregoing with the Clerk by using the CM/ECF system. I further certify that I mailed the

foregoing document and the notice of electronic filing by first-class mail to the following

non-CM/ECF participant:

              Eugene Raymond Estes
              4671 S. Pagosa Cir
              Aurora, CO 80015


                                                  s/ Stephanie Price
                                                  Stephanie Price
                                                  Legal Administrative Specialist
                                                  United States Attorney’s Office
                                                  District of Colorado




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